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                            IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF SOUTH CAROLINA
                                     COLUMBIA DIVISION


    South Carolina State Conference of NAACP;
                                                          Case No.: 0:22-cv-01338-MGL-PJG
    Disability Rights of South Carolina;

    Justice 360,

                       Plaintiffs,
                                                          DEFENDANTS’ EXPEDITED
    v.                                                   MOTION TO QUASH AND FOR A
                                                            PROTECTIVE ORDER
    South Carolina Department of Juvenile Justice;

    Eden Hendrick, individually and in her
    official capacity as Executive Director of the
    South Carolina Department of Juvenile Justice,

                      Defendants.


            Defendants South Carolina Department of Juvenile Justice (DJJ) and Executive Director

Eden Hendrick, respectfully submit this expedited motion to quash and for a protective order.1

The Court should quash the March 31, 2023 subpoena that counsel for Plaintiffs South Carolina

State Conference of NAACP, Disability Rights of South Carolina, and Justice 360 served on

attorney Dan Boles seeking information from his clients’ state court lawsuits, Ex. A, Boles

Subpoena & Service Email, and issue a protective order preventing this discovery because it

circumvents the Court’s limitation on discovery. ECF No. 73. Further, the Court should expedite

consideration of this request because (1) the subpoena is returnable on April 7, 2023, and Boles

already accepted service; and (2) this issue requires resolution before the hearing, if needed, in this



1
 Under Local Civil Rule 7.04 (D.S.C.), “a supporting memorandum is not required” here. Further,
Defendants’ counsel consulted with Plaintiffs’ counsel prior to filing this motion, but the parties
unfortunately were unable to resolve their differences. See Local Civ. R. 7.02 (D.S.C.).
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matter. So the Court should give Plaintiffs two days to respond, and Defendants should have one

day to reply if necessary. Cf. Local Civ. R. 7.06 & 7.07 (D.S.C) (providing deadlines for responses

and replies unless otherwise ordered by the Court); Local Civ. R. 6.01 (D.S.C.) (allowing parties

to request a “shortening of time”).

                                           BACKGROUND

       This Court “limited discovery pertaining to the Rule 12(b)(6) issues and preliminary

injunction only” when the district court referred the case back to it. ECF No. 73. During the status

conference, the parties discussed only written discovery to each other.         Since then, DJJ’s

employees and counsel have been working extremely hard to respond to Plaintiffs’ expedited

discovery requests. See Ex B. Defendants have produced objections and responses—as well as

over 1600 pages worth of documents in two productions—before their deadline to respond to

Plaintiffs’ requests. They just served another document production today.

       Nevertheless, Plaintiffs served a subpoena on attorney Dan Boles on March 31, 2023. See

Ex. A. Boles currently represents clients in individual lawsuits against DJJ in state court. E.g.,

Stettner v. S.C. Dep’t of Juv. Just., No. 2021-CP-40-03732 (S.C. Comm. Pl. July 27, 2021);

Vanover v. S.C. Dep’t of Juv. Just., No. 2020-CP-40-02432 (S.C. Comm. Pl. May 20, 2020).

Defendants were not given prior notice of the subpoena. Cf. Fed. R. Civ. P. 45(a)(4). They were

simply copied on the service email. See Ex. A. In the subpoena, Plaintiffs seek records in Boles’s

“possession, including deposition transcripts,” that show the following:

                      overcrowding and/or understaffing at DJJ facilities,
                       including knowledge by DJJ officials of harm caused by
                       overcrowding or understaffing;

                       DJJ’s use of isolation, including knowledge by DJJ officials
                       of harm caused by DJJ's use of isolation;




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                      DJJ’s lack of provision of education, mental health care, and
                       medical care, including knowledge by DJJ officials of harm
                       caused by DJJ's lack of provision of education, mental health
                       care, and medical care;

                      evidence of unsafe/unsanitary conditions of confinement,
                       including knowledge by DJJ officials of harm caused by
                       these conditions

Ex. A. On April 3, 2023, Defendants emailed Plaintiffs their objection to the subpoena. The

parties then held a meet and confer that same day. Plaintiffs declined to withdraw the subpoena.

       Accordingly, this matter comes before the Court on Defendants’ motion to quash the Boles

subpoena and motion for a protective order.

                                           ARGUMENT

       While it is true that “[i]nformation within th[e] scope of discovery need not be admissible

in evidence to be discoverable,” Federal Rule of Civil Procedure 26’s broad permissible scope of

discovery applies “[u]nless otherwise limited by court order.” Fed. R. Civ. P. 26(b)(1). Here, the

Court has “limited discovery pertaining to the Rule 12(b)(6) issues and preliminary injunction

only.” ECF No. 73.

       Yet, through the Boles subpoena, Plaintiffs seek information from a different attorney at a

different law firm about different clients in different cases in a different forum. Ex. A. Some of

the clients Boles represents no longer reside in DJJ. E.g., Am. Compl., Vanover, No. 2021-CP-

40-03732 (S.C. Ct. Comm. Pl. May 6, 2022). Timing problems aside, Inmates v. Owens, 561 F.2d

560, 562 (4th Cir. 1977), Plaintiffs cannot rely on alleged harm to Boles’s juvenile clients being

litigated in state-court lawsuits to show a likelihood of their organizations’ success on the merits

in this federal-court case. Plaintiffs have not shown any relationship between their organizations

and Boles’s clients. What is more, if Plaintiffs do not know about the harms in the cases from

which they are seeking documents, then how can that form the basis of immediate irreparable harm


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to them? See Di Biase v. SPX Corp., 872 F.3d 224, 235 (4th Cir. 2017) (requiring Plaintiffs to

clearly show “they [a]re likely to suffer irreparable harm without the injunction” (emphasis

added)). It cannot. Documents and depositions of DJJ employees taken in different cases have

nothing to do with Plaintiffs’ organizational harms and claims here.2

       On that note, Plaintiffs keep seeking to revive their theory of associational standing. But

Plaintiffs have not identified, or even provided initials for, a single juvenile detainee on behalf of

whom Plaintiffs are bringing this lawsuit. Cf. Tenn. Prot. & Advoc., Inc. v. Bd. of Educ. of Putnam

Cnty., Tenn., 24 F. Supp. 2d 808, 816 (M.D. Tenn. 1998) (holding “where there is no specifically

injured plaintiff on whose behalf the P&A group files a claim, then the organization must allege

direct injury-in-fact to itself in order to satisfy the Article III case or controversy requirement”).

       Further, this Court already rejected their associational standing argument, ECF No. 45, at

16–20, and the district court has not disturbed that ruling, ECF No. 68. Thus, this Court’s R&R

on that ground is law of the case until the district court rules otherwise. Cf. Christianson v. Colt

Indus. Operating Corp., 486 U.S. 800, 816 (1988) (stating under the law of the case doctrine,

“when a court decides upon a rule of law, that decision should continue to govern the same issues

in subsequent stages in the same case” (quoting Arizona v. California, 460 U.S. 605, 618 (1983))).

       Consequently, Plaintiffs are limited to discovery pertaining to alleged irreparable harm to

their organizations—and arguably only Justice 360—and a likelihood of success on the merits of

three of their constitutional claims for which they seek a mandatory preliminary injunction.



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  What is perhaps most stunning is that Plaintiffs apparently want to use the depositions of DJJ
employees taken in separate cases to impute liability to DJJ. Yet that is precisely what they
disclaimed trying to do in their motion to conduct ex parte interviews of DJJ’s employees. ECF
No. 77, at 1; cf. King v. Herbert J. Thomas Mem’l Hosp., 159 F.3d 192, 196 (4th Cir. 1998)
(forbidding parties from “playing fast and loose with the courts,” and “blowing hot and cold as the
occasion demands,” and “attempting ‘to mislead the [court] to gain unfair advantage’” (quoting
Lowery v. Stovall, 92 F.3d 219, 223, 225 (4th Cir. 1996))).


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Against this backdrop, even under the more expansive Rule 26, the discovery sought in the Boles

subpoena necessarily is not “relevant to any party’s claim or defense.” Fed. R. Civ. P. 26(b)(1);

see also Washington v. Follin, No. 4:14-cv-00416-RBH-KDW, 2016 WL 1614166, at *7 (D.S.C.

Apr. 22, 2016) (stating “the scope of discovery allowed under a Rule 45 subpoena is equivalent to

the scope of discovery allowed under Rule 26”). Indeed, this is a blatant end-run around the

Court’s order limiting discovery: look no further than Boles’s email to DJJ’s counsel in the state-

court lawsuits asking for “DJJ’s consent to comply with this subpoena.” Ex. C, Boles Email.

       Because the Boles subpoena seeks to circumvent this Court’s order limiting discovery,

ECF No. 73, the Court should quash the subpoena and issue a protective order forbidding the

production because it falls outside the scope of the order. See Fed. R. Civ. P. 26(c)(1). Defendants

have standing to move to quash because—according to Plaintiffs’ counsel and Boles—the request

seeks information potentially protected by confidentiality orders in the state court cases from

which they seek documents. E.g., Conf. Order, Stettner, No. 2021-CP-40-03732 (S.C. Ct. Comm.

Pl. Sept. 2, 2021). Plaintiffs should be able to shed additional light on what they expect to receive

in the subpoena response, as the service email indicated this was prearranged anyway. Ex. A.

       In all events, Defendants have “standing to challenge the subpoenas under Rule 26

standards.” HDSherer LLC v. Nat. Molecular Testing Corp., 292 F.R.D. 305, 307 (D.S.C. 2013).

The Court is afforded broad discretion “to decide when a protective order is appropriate and what

degree of protection is required.” Seattle Times Co. v. Rhinehart, 467 U.S. 20, 36 (1984). And

even when “weigh[ing] the need for the information versus the harm in producing it,” Slager v. S.

States Police Benevolent Ass’n, Inc., No. 2:15-cv-04536-DCN, 2016 WL 4123700, at *2 (D.S.C.

Aug. 3, 2016) (quoting A Helping Hand, LLC v. Baltimore Cnty., Md., 295 F. Supp. 2d 585, 592

(D. Md. 2003)), Plaintiffs cannot survive the test. Plaintiffs cannot articulate a need to violate this




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Court’s order limiting discovery. Nor have they argued Defendants’ significant productions are

in any way deficient. Plaintiffs have not alleged any overlap in clients with Boles. And again, we

do not have a single named plaintiff here. The Court should therefore enter an order “forbidding

the disclosure or discovery” sought in Plaintiffs’ improper subpoena. Fed. R. Civ. P. 26(c)(1)(A).

                                          CONCLUSION

       For these reasons, the Court should expedite briefing and consideration, quash the Boles

subpoena, enter a protective order, and grant such further relief it deems just and proper to ensure

compliance with its order limiting discovery.

                                              Respectfully submitted,

                                              /s/Vordman Carlisle Traywick, III
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Columbia, South Carolina
April 4, 2023




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